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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA

 In re:                                     Chapter 7

 SHERRIE LYNN MOON,                         Case No. 23-54588-pwb

                        Debtor.

         CERTIFICATE OF SERVICE ON DEBTOR OF
  CREDITOR TIMOTHY MCAFEE’S MOTION FOR RELIEF FROM
 AUTOMATIC STAY TO PROCEED WITH DISPOSSESSORY ACTION

      I hereby certify that on June 19, 2023, a true and correct copy of CREDITOR

TIMOTHY MCAFEE’S MOTION FOR RELIEF FROM AUTOMATIC STAY TO

PROCEED WITH DISPOSSESSORY ACTION was served on Debtor by placed

same in United States Mail, First Class, proper postage attached to Debtor at:

                                Sherrie Lynn Moon
                               428 Tidewater Cove
                            Stone Mountain, GA 30087

Dated: June 20, 2023

                                             Respectfully Submitted by:

                                             THRIFT MCLEMORE

                                             /s/ Ryan K. McLemore
                                             Ryan K. McLemore
                                             Georgia Bar No. 496929
                                             rmclemore@thriftlegal.com

                                             Attorney for Creditor Timothy McAfee
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